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                                                                               Index No
            SUPREME COURT OF THE STATE OF NEW YORK
            COI.INTY OF NEW YORK                                               Date Purchased
            JOSE RODRTGUEZ,                                                    SUMMONS          --
                                                 Platnt{f,                     Plarntrff destgnates New
                                                                               York County as the Place of
                                  -agamst-
                                                                               tnal

                                                                               The basrs of venue rs
                      YORK;/0MINffi
            TIIE CITY OF NEW                                               -
                                                                               Place of Occrurence
        WOF+{EW{rOR:I€-0{EW*YORK
        -COUNTY?JOIA#TANE'EOE-#€ ffi
        oru+rue*e+ron*gy"'soFFlcE, ADA-ermts.FoP-HER P'
            I4A&'FIELbIiADA JOHNiJANE DOES #6-11, NEW YqES
            CITY OFFICERS, AGENTS, SERVANTS ANd/OT EMPLOYEES
            JOHN/JAI.{E DOES #12-15 (the names "John/Jane Doe" bemg
            fictrttous as the true names are presently unknown), mdrvtdually
            and m ther officral capactty as New York Ctty admtrustrators,
            ADAs or employees, agents or servants),
                                                 Defendants



        To the above-named Defendant(s).

                You are hereby summoned to answerthe complamt m thrs actlon, and to serve a copy of yolr
        u**rr, *, rf the comjlarnt rs not served wrth thrs sufrmons, to senre a notrce of appearance  on the
        plarntrffs attomeys *"iriti" twenty days after the servtce of thrs summons, exclusrve o!
                                                                                                 -thg
                                                                                                      day of
        ;ffi;;;;h;i. .itiiri tr made by iel*ery opon you personally wrthrn the state, or, wtthrn 30 days after
                                                                           case of your farlure to appear or
        ;;pEt ; ;f servrce where setitc" rs niad-e rn qnyblhgr qanne.r Indemanded
        *-r#.i, Jrasrirt wrll be taken agamst you by default for the reltef           rn the complamt

        Dated             New York, New York
                          May2,2023




                                                        Elhe A Stlverman, Esq
                                                        Speaal Counsel to.
                                                        SHT]LMAN & HILL, PLLC.
                                                        Attorneysfor Platnttff
                                                        JOSE RODRIGUEZ
                                                        brr St"tr Stre;etPlaza,l5th Floor
                                                        New York, New York 10004
                                                        212-221-1000



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        TO

             1 TIIE CITY OF NEW YORK, 100 Church Street, New York, New York 10007, -
             2 NEWYORI( COUNTYDISfRICT ATTORNEY'S OFFICE, I HoganPlace, NewYork,
               M 10013
             3 ADA CHRISTOPHER P, MARINELLI, 1 Hogan Place, New York, NY 10013




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        sipnpMs couRT oF THE srATE oF NEw YoRK                              Index No
        COUNTY OF NEW YORK
                                                                            Date
        JOSE RODRIGUEZ,                                                     Purchased

                                             PIarntff,                      VERITIED
                                                                            COMPLAINT
                              -agamst-


        THE CITY OFNEWYORK,ADMINISTRATORS OFTHE 18.B
        PANEL FOR THE CITY OF NEW YORK (NEW YORK
        couNTY) JOHN/JANE DOE #1-5, NEW YORK COI.INTY
        DISTRICf ATTORNEY'S OFFICE, ADA CHRISTOPHER P,
        MARINELLI, ADA JOHN/JANE DOES #6-rl, NEW YOlq4
        CITY OFFICERS, AGENTS, SERVANTS and/or EMPLOYEES
        JOHN/JANE DOES #t2-I5 (the names "John0ane Doe" bem.g
        ficttttous as the true names are presently unknown), rndrvrdually
        and rn ther officral capacrty as New York Crty admtrustrators,
        ADAs or employees, agents or servants),
                                             Defendants



              PlarntrffJOSE RODRIGUEZby hrs attorneys SIIULMAN & HILL, PLLC and Ellte

              srlverman, Esq., complamrng of Defendants THE CITY OF NEW YORK'
              ADMINISTRATORS OF THE 18-B PAI\EL FOR TIIE CITY OF IYEW YORK (NEW

              YORK COUNTy) JOHNiJANE DOE #1-s, NEW YORK COIINTY DISTRICT
              ATTORNEY'S OFFICE, ADA JOHN/JA|I-E DOES #6-ll, NEw YORK CITY
              9FFICERS, AGENTS, SERVAI\TS and/or EMPLOYEES JOIIN/JANE DOES #12-15
              (the names "John/Jane Doe" berng fictrtrous as the true names are presently unknown),

              rndrvrdually and rn ther officral capacrty as New York Crty admrntstrators, ADAs or

              employees, agents or servants),respectfully alleges, upon mformaflon and behef

                                         PRELIMINARY STATEMENT
                      Thrs rs a crvrl nghts acfion based on the Defendants' cltl nghts acfion based on the

              Defendants' vrolatrons of the nghts afforded to PlarntrffJOsE RODRIGIJEZ grounded m New

              York State Law and42USC $ 1983 Plarntrffseeks compensatory damages, puruttve damages,

              an award of costs and attorney's fees, and such other and further reltef as the Court deems;ust

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             and proper The clarm anses when Mr Rodrrguez was unlustly delayed rn bemg afforded the

             rrght to an appeal, causmg Mr Rodnguez to be derued due process and equal protectlon m

             addrtron to other vrolatrons of Mr Rodnguez's federal and state consfitufional nghts

                    As a result of these vrolailons, and rn addrtron to other damages, Mr Rodnguez was

             sub;ected to an excessrve and unreasonable custodtal detentron and all assoclatlon therewrth

                    Defendants vrolated Plarntrff s nghts pursuant to New York State Human Rrghts Law,

             New York Crty Human Rrghts Code, Crvrl Rrghts afforded to htm under the Unrted States and

             New York State Constrtuhon New York Crty and tts employees pursuant to New York State

             Law, the New York State Constrtutron, and the US Constrtutton under color of state law, acted

             neghgently, mtenflonally, and wrllfully sublected plarntrff to a hfe altenng expenence

                    Plarntrff seeks monetary damages (specml, compensatory and pumfive) agamst

             defendants, as well as an award of costs and attorneys'fees, and such other and furtherreltef as

             the Court deems lust and proper The aforesard depnvabons, breaches, torts and vrolatrons are

             contrnuous m nature

                                                   PARTIES

        1    PlarntrffJOs[ RODRIGUEZwas, and silll rc, an mdtvrdual restdrng at293 Genesee Street,
             Ufica, County of Onerda and State of New York

        2    Defendant THE CITY OF NEW YORI( was, and still rs, at all trmes relevant heretn, a

             mumcrpal corporatron duly rncorporated and exrstrng under and by urtue of the laws of the

             State ofNew York

        3    Defendant TIIE CITY OF NEW YORK was, and shll rs, at all trmes relevant heretn, a

             mumcrpal entlty created and authonzed under the laws ofthe State ofNew York It rs authonzed

             to marntarn a pohce deparbnent, whrch acts as rts agent m the area of law enforcement and for

             whrch rt rs ultrmately responsrble Defendant THE CITY OF NEW YORK assumes the nsks

             mcrdental to the mamtenance of a pohce force and the employnent ofpohce oflicers as sald nsk




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              attaches to the pubhc consumers of the servlces provrded by NEW YORK CITY POLICE

              DEPARTMENT

        4     Defendants TIIE CITY OF I\EW YORK, ADMINISTRATORS OF TIIE 18-B PAI\EL

              FOR THE CITY OF NEW YORK (NEW YORK COUNTY) JOHN/JANE DOE #1-5'

              NEW YORK COIINTY DTSTRICT ATTORNEY'S OFFICE, ADA JOHN/JANE DOES

              #6-ll, NEW YORK CITY OFFICERS, AGENTS, SERVANTS and/or EMPLOYEES
              JOHN/JANE DOES #12-15 were, and still are, at all trmes relevantherem, dulyappomted and

              actmg officers, servants, employees and agents of the Defendant TIIE CITY OF NEW YORK

        5     Defendants THE CITY OF NEW YORK' ADMINISTRATORS OF TIIE 18-B PANEL

              FOR THE CITY OF NEW YORK (NEW YORK COUNT9 JOHN/JANE DOE #1-s,

              NEW yORr( COUNTY DISTRICT ATTORNEY'S OFFICE, ADA JOHN/JANE DOES

              #6-ll, NEW VORK CITY OFFICERS, AGENTS, SERVANITS and/or EMPLOVEES
              JOHN/JANE DOES #12-15 were, and strll are, at all trmes relevant herem, acfing under color

              of state law m the course and scope of therr dufies and functrons as an officers, agents, servants,

              and employees of Defendant THE CITY OF NEW YORK were achng for, and on behalf of,

              and wrth the power and authorrty vested n them by Defendant TIIE CITY OF NEW YORK

              and were otherwrse performrng and engagrng m conduct rncrdental to the performance of ther

              lawful functrons m the course of theu duhes

        6     On May 3, 2022, andwrthrn the fime presonbed by law, a sworn Notrce of Clarm statrng among

              o1trs1thrngs, the fime when and the place where the mlurres and damages were sustamed,

              together wrth Plarntrff s demands for adlustment thereofwas duly served on Plamtrffs behalf on

              the Comptroller of Defendant TIIE CITY OF NEW YORK and that, thereafter, sard
              Comptroller for Defendant THE CITY OF NEW YORI( refused or neglected for more than

              thrrfy (30) days, and up to the commencement of thrs actlon, to make any ad.lustrnent or payment

              thereof, and that, thereafter, and wrthm the trme provrded by law, thts actron was commEnced




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       7     Defendants ADI\{INISTRATORS OF THE l8-B PAI\-EL FOR TIIE CITY OF'NEW

             YORK (NEW YORK COUNTY) JOHN/JANE DOE #1-5, NEW YORK COUNTY
             DISTRICT ATTORIIEY'S OFFICE, ADA JOHN/JANE DOES #6-11, NEW YORK
             CITY OFFICERS, AGENTS, SERVANTS andior EMPLOYEES JOI{N/JANE DOES
             #12-15 are sued tn ther officral and rndrvldual capacrfles

                                          JI]RISDICTION & VENUE

        8    plarntrff JOSE RODRIG||i$}repeats and rerterates the allegaUons set forth rn the foregomg

             paragaphs wrth the same force and effect as though fully stated herern

        9    Wrthrn 90 days of the mcrdents alleged rnthrs complarnt, Plamtrff served upon Defendant Ctty

             of New York a Nohce of Clarm settmg forth the name and post office address of plarntrff the

             natwe of the clarm, the trme when, the place where and the manner rn wtuch the clarm arose and

             the ttems of damages or mJunes clarmed

        10   By fi1ng a trmely Noflce of Clarm wrth the Crty of New York, Plaurtrff has preserved all State

             clarms and The Crty ofNew York rs responsrble based on the theory of respondeat supenor

        11   More than 30 days have elapsed smce plarntrffs demands and/or clatms were presented to

             defendant Crty of New York for adlustment and/or payment thereof, and the defendant has

             neglected and/or refused to make any adlustment and/or paynent

        t2   Venue ls proper rn the Supreme Court ofthe State New York, New York County, because the

             acts rn questron occurred rn the State of New York, New York County, and the Crty of New

             York rs sublect to personallunsdrcflon rn Supreme Court of the State New York, New York

             County

        13   Thrs Court has lunsdrcfion over Defendants pursuant to CPLR $ 301 and/or 302

        t4   Thrs acfion rs seekrng redress for the vrolatron of Plarntrff s constrtutronal and ctvrl nghts and rs

             also brought pursuant to 42 U S C $$ 1983 and 1988, and the Fourth and Fourteenth

             Amendments to the Umted States Consfituhon




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        1   5   Thrs Court has.lunsdrctron over Plarntrff s clarms under 42 USC $ 1983 pursuant to 28 USC $

                1331 and $ 1342(3)

        16      Thrs Court haslunsdrctron over all ofPlarntrff s clarms and causes of acfionbecause they denve

                from the same nucleus of operafive facts and are part ofthe same case or controversy that grves

                nse to hts state clatms and causes of actron

                                             STATEMENT OF FACTS

        l7      Plarntrff JOSE RODRIG[EZrepeats and rerterates the allegafions set forth rn the foregomg

                paragraphs wrth the same force and effect as though fully stated herem

        18      Plarntrff JOSE RODRIGUEZ was derued hn constrtutronal nght to a meantngful (and a

                speedy) appeal

        19      The delay was extraordrnary The demal or senous obsffucfion oftlls nght "$ as much a fatlure

                of due process as would the denral of the nght to a tnal rtself " People v Rlvera, 39 NY2d 5 19,

                522 (te76)

        20      These events mttlated wlth the New York County wrongful convrctron of Mr Rodnguez on or

                aboutApnlz,lgSz,followurgalurytnalwherePlarnhffJOSERODRIGIlEZwaswrongfully
                convrcted of two counts of attempted murder and cnmtnal possessron of a weapon m the second

                degree Mr Rodnguez's Indrctment # was 5427 l8l

        2I      Mr Rodnguezhad only been rn the country approxtmately two (2) years at the trme of hrs
                convrchon after fleemg from Cuba's Castro reglme, spoke almost no Enghsh and had no

                understandrng of the cnmmallusttce system

        22      On or about Apnl 2I,1982, Mr Rodnguez was sentenced to twenty (20) years m pnson

        23      Upon rnformafion and behef, the sentencmg mrnutes of Mr Rodnguez rndrcate the need for

                psychratnc treatment, whrch was never properly afforded to hrm by the DOC or DOCCS desptte

                the Court's urgmg




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       24     The partral record demonstrates that Mr Rodnguez's tnal counsel, desptte only practrcurg for

              two years at the trme he was appomted, fought for Mr Rodnguez,lodgedproper oblecttons, and

              moved to drsmrss the case for msufficrent evtdence for the underlyrng charges

       25     The Notrce of Appeal was hmely filed and Plarntrff was ongmally assrgned to Wrllmm E

              Hellerstern, Esq However, Hellerstem moved to be reheved and that was granted on or about

              February 24,L983 and Thomas P Burke was assrgned as Plarntrff s new appellate counsel and

              Plarntrff s ttme to perfect was extended by 120 days

        26    The Defendants, New York County Drstrct Attomey's Office (Appeals Bureau), accurately

              reflected Burke's appomtment on PlarntrfFs "FILE CARD', but then rt maccurately states that

              Plarntrff s appeal was affmned on May 17, 1983 under appeal number L6790 The reason why

              thrs rc rnaccurate rs because the Defendants were hstrng the affirmance of a drfferent "Jose

              Rodnguez" on Plamtffs "FILE CARD"

        27    It should be noted that thrs drfferent "Jose Rodn guez" was convtcted of a drfferent charge, at a

              tnal wrth a drfferent Judge presrdrng, assrgned a totally drfferent appellate counsel and would

              never be reasonably connected to Plarntlff, Jose Rodnguez and no reasonable person would

              support the conclusron that Plarntrff Jose Rodnguez was stmilar ln any way to the dtfferent

              "Jose Rodngoez",otherthan the name (whrch N a very common name)

        28    Defendants came forward wth no records and no arguments to demonstrate that Burke ever

              took any steps to proceed wrth the appeal

        29 Mr Rodnguezhadbeen prevrously toldby hrs tral lawyer, that he would be rnformed rf hrs
              appeal was successful He never heard from Mr Bwke and for years, Just assumed that hrs

              appeal had failed

        30    Unbeknown to Plarntrff, Burke was pulled off ofthe malonty or almost all of hls assrgned cases

              for hrs farlure to properly represent hts assrgned chents

        3l    Subsequently, m or around the year 2004, the asstgned appeliate counsel, Thomas P Burke, was

              formalty suspended from the 18-B panel for dehnquency m perfectrng appeals


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       32    In 2006, the Drscrpfunary commrttee was rnvesfigafing Burke due to an ethtcs complamt lodged

             agarnst hrm In 2008, Bwke was then suspended from the practtce of law for neglecturg hrs

             duhes and ultrmately drsbaned rn 2009

        33   Burke has smce passed awaY

        34   Defendants were aware of Burke's mlsglvmgs and wrthheld thrs rnformahon from Plarntrff, the

             Court and many other partres who at vanous trmes dunng these 40 years, could have nghted thts

             wrong (r e the parole board)

        35   Dunng the passage of almost 40 years, Mr Rodnguez was never grven the opportuntty to

             submrt an appeal because the assrgned appellate counsel never perfected rt

        36   It was not r1rtrl the year 2014, when a fellow urmate attempted to locate hrs appeal and rts
             resolutron when Plarntrff JOSE RODRIGUEZreabzedthe problem and tmmedtately filed a

             pro se coram nobw petrtron on or about Apnl L6,2014

        37   The State chose to oppose thrs petrtron n2014 and attached an affirmatron of Defendants the

             ADA John Doe #6, whrch stated that hrs appeal had been perfected and refened to thrs "FILE

             CARD" as accurately reflectmg Plarntrff Jose Roduquez

        38   On or about August 14,2014, the Defendants admrtted that rts own records drd not reflect the

             appeal ever berng perfected but that the Court should refer to the Court's entry afftrrrrng the

             convtctton of "Jose Rodnguez" even though that was not the Plarntrff

        39   Even though the Defendants at thrs pornt knew somethrng was wrong, they shll asserted that

             Plaurtrffallowed hrs appeal to langursh and even though Defendants never moved to drsmtss

             thrs alleged "appeal" that was filed, the laches doctnne hme bared hrs clatms

        40   On August 25,z}l4,Plarntrffrephed by explammg that the prosecutron was clhng the wrong

             "Jose Rodngoez"

        4I   On or about November |3,20l4,the Court demed the Plarntrff s petrtron, recrttng the rncorrect

             procedural hrstoryrelymg on the Affirmatron from the Defendants-Dtsfict Attorney's Office

        42   OnoraboutNovember26,20l4,PlarntrffsoughtleavetoappealtheNovember L3,20I4Order


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              and the State opposed that apphcatron On June 29,2075, Plarntrffs leave to appeal was

              demed

        43    The Defendants neghgentiy and/or rntenfionally permrtted the referencrng to the wrong "Jose

              Rodlguez", to remaur, drd not make any attempt to correct the effor and drd nothrng to request

              reconsrderatton after the error was revealed

        44    There was an mvestrgatron conducted by the Attorney General's office m or around 2016/2017 ,

              whrch revealed that Mr Rodnguez's appeal was m fact, never perfected The results of thrs

              mvestrgatron proved that Mr Rodnguez was a vrcttm As such, on or about February 16,2017,

              the Court recalled and vacated rts pnor order denyng the petrfion

        45    Desprte berng prrvy to thrs mformatron about the drsgraced state-appomted attorney, the

              Defendants, specrfically the DA's Office and ADAs, nevertheless, chose to cross-move to

              dtsmrss the appeal as unttmelY

        46    Even more callous, there was a letter submrtted by Defendants, spectficallythe DA's Office and

              ADAs, ear|er (approxrmately 20 years mto Mr Rodnguez's rncatceratton) wgrng DOCCS to

              deny hrm parole and to notrff the DA's office The letter set forth the procedural hrstory of the

              case but ma|crously omrtted all the rnformatton about hrs appeal berng unperfected Defendants

              made the chorce to confinue the mahcrous prosecutron and gross departures even 20 years later

        47    It ts true that the mrhal reason for the delay was due to the mcompetence of the 18-b counsel,

              Burke, wluch must also be addressed But, notably, the Defendants' own records (specrfically

              the DA's Office and ADAs) reflect that they had notlce, knew that the appeal was unperfected,

              mamtamed mvolved rn IW Rodnguez's mcarceratlon even 20 years later when they fought to

              deny hrm parole

        48    It rs blatantly obvrous that Defendants drd not comply wrth ther "duty of farr deahng to the
              accused and candor the courts," People v Pelchat, 62 NY2d 97, 105 (1984)

        49    Defendants were aware of the senous concerns wrth the pattern of appellate drvtston delays that

              had been brought by New York State pnsoners Mr Rodnguez's case was a product of those



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                same cnses as drscussed rn SDNY as early as 1990 (See, Mathrs v Hood, 1990 WL 100869

                (SDNY 1990) It goes wrthout sayng that Mr Rodnguez was pre.ludrced by these
                extraordmary delays

       50       Mr Rodlguez was constructrvely and actually deprrved of hrs due process nght to counsel and
                to effectle asststance of counsel on appeal

        5   1   Even dunng the most recent appeal, Defendants were obshucttng the Plarntrffs abrlrty to obtarn

                porhons of PlarntrfPs file ADA Mannelh on or about February 9,2021, wrote to Plarntrff s

                appellate attomey refusmg to provtde any notes or any documents

        52      It was not untrl November 9,2027 where rt was determmed as a matter of law that Mr
                Rodnguez was "depnved of hrs nght to a 'mearungful appeal' ur hght of the undrsputedly

                extraordrnary delay ofnearly40 years rn perfectrng hrs appeal "   b&J&g[ry,          199 AD3d

                469 (2021)

        53      On or about February 2,2022,the Defendants' (specrfically the DA's Office andNY County

                ADA's) apphcahon for leave to appeal m the court of Appeals was demed
        54      PlarntrffJOsE RODRIGIJEZremarned detarned for nearly forty years of hrs hfe and further

                detaured untrl Novembe r,2022for near$ ten (10) months after hrs convtcfion was overturned

        55      Thrs ten (10) month addrflonal depnvatron of hberty ts attr:butable to Defendants' uufial

                wrongdomgs, but for these wrongdorngs, Plarntff would not have been tn a sttuatron to recerve

                retalatory mfrachons and punrshments further depnvrng hrm of hrs hberty

        56      Upon mfonnafion and behef, dunng thls tlme, Mr Rodnguez was sublected to multrple acts of

                vrolence by mmates, as well as sub;ected to exffeme psycholo$cal and physrcal abuse by

                corectrons officers

        57      Upon rnformatron and behef, Plarntrff JOSE RODRIGUEZwas lncarcerated m State pnson

                where he spent the next four decades ofhrs hfe fighturg to ltve another day, sufFenngphysrcally,

                mentally, psychologrcally, emottonally, and legally




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        58    Upon mformafion and behef, Plarntrff JOSE RODRIGUEZ dururg hts mcarcerafion was

              demed medrcailon, experrenced dekberate urdtfference to hrs medrcal needs, was retahated

              agaurst physrcally but also m the form of retahatory mfracttons and was also one of the many

              vtcttms of the officers' psychologrcal warfare

        59    There rs no questron that thrs'ordeal has greatly affected htm mentally, emotronally and

              psychologrcally Addrtronally, and as a further result of thts ordeal, whrch was msfltuted and

              mamtamed by Defendants, Planhff JOSE RODRIGUEZ has suffered substanttal actual

              damages rncludrng and not hmrted to, legal fees and court costs, expenses of defendurg the

              prosecutron, extreme emofional drstress, aggravatron, humiltafion, loss of enloyment of lrfe, loss

              of reputatron, sleeplessness, headaches, ntghtmares, further fear of arrest and other mcldental

              and consequenfial damages, whtch were reasonably foreseeable by Defendants


                                     AS AI\D FOR A FIRST CAUSE OF ACTION
                   vIoLATIoN oF ruffiffi                                       ROTECTION
                   I]NDER THE UNITED STATES CONSTITUTION ACTIONABLE T]I\DER
                                               42 U.S.C $ 1983
                          (Includrng Denral Of Constrtutronal Rrght To A Farr Tnal)


        60    Plarntrff repeats and rerterates the allegatrons set forth rn the foregomg paragraphs wtth the same

              force and effect as though fully stated heretn

        61    Defendants collectrvely and rndlrdually, whrle actulg under the color of law, engaged rn

              conduc! wtuch constrtuted a vrolatron of nghts clearly estabkshed under the Umted States

              Constrtutron

        62    Defendants vrolated Plaurtrff/s constltutlonal nghts rn farlmg to protect hun from the unlustrfied

              and unconstrtuhonal treatment and while actrng wrth antmus, and under color of law and

              wrthout lawfullushficatron, rntentronally, maltcrously, and wrth deltberate mdrfference to and/or

              areckless drsregardforthenatural andprobable consequences oftheracts, causedrnluryand

              damage rn vrolafion of Plarntrff s due process clause and constttuttonal nghts as guaranteed

              under 42 U S C $ 1983 and the Unrted States Constrtufion, mcludmg tts Fourth and Fourteenth



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             Amendments

       63    Defendants Tt{E CITY OF NEW YORK, ADMINISTRATORS OF THE 18-B PAI\EL

             FOR Tm CITY OF NEW YORK (NEW YORK COITNTY) JOHN/JANE DOE #1-5,

             NEW YORK COUNTY DISTRICT ATTORNEY'S OFFICE, ADA JOHN/JAI{E DOES

             #6-ll,NEW YORK CITY OFFICERS, AGENTS, SERVANITS and/or EMPLOYEES
             JOHN/JANE DOES #12-15 depnved Plarntrff JOSE RODRIGU&Z of hrs nght to a
             meamngful appeal

        64   The Notrce of Appeal was trmely filed but, rt was not unfil November 9,202I where rt was

             determrned as a matter of law that Mr Rodnguez was "deprffed of hrs nght to a 'meamngful

             appeal' rn hght of the undrsputedly extraordmary delay of nearly 40 years m perfecfing hrs

             appeal " People v Rodnguez,199 AD3d469

        65   Desprte the passage of nearly forty 40 years, Mr Rodnguez was strll awattmg the opporturuty

             for a meanrngful appeal Although he promptlynotrced an appeal, hts asstgned appellate counsel

             never perfected rt Defendants THE CITY OF NEW YORK, ADMINISTRATORS OF TIIE

             18.8 PANEL FOR THF'. CITY OF NEW YORK (NEW YORK COUNTY) JOHN/JAN'E

             DOE #1-5, NEW YORK COUNTY DISTRICT ATTORNEY'S OFFICE, ADA
             JOHN/JAI\E DOES #6-11, NEW YORK CITY OFFICERS, AGENTS, SERVANTS
             and/or EMPLOYEES JOHN/JANE DOES #12-LS has therefore never revrewed the
             convrctrons m thts attempted murder case

        66   The staggenng delay m tlus case-due pnmanly to the astorushmg mcompetence of a

             Defendants THE CITY OF NEW YORK ADMIMSTRATORS OF THE l8'B PANEL

             FOR THE CITY OF NEW YORK (NEW YORK COUNTY) JOIIN/JAI\E DOE #1-5'

             NEW YORI( COIINTY DISTRICT ATTORNEY',S OFFICE, ADA JOIINiJANE DOES

             #6-lt, flEW YORK CITY OFFICERS, AGENTS, SERVANTS and/or EMPLOYEES
             JOHN/JANE DOES #12-tS depnvedMr Rodnguez ofhrs consfituhonalnghts to dueprocess

             and equal protechon


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        67   Defendants THE CITY OF NEW YORK, ADMINISTRATORS OF THE 18-B PAI\EL

             FOR THE CrTy OF NEW YORK (NEW YORK COUNTY) JOIIN/JA|IE DOE #1-5,

             NEW YORK COTJNTY DISTRICT ATTORNEY'S OFFICE, ADA JOHN/JAFIE DOES

             #6-tt,NEW YORK CITY OFFICERS, AGENTS, SERVANTS andior EMPLOYEES
             JOHN/JAhIE DOES #12-15 denred Plarntrff JOS'E RODRIGUE,Z of hrs nght to a speedy

             appeal

        68   The excessrve delays m thrs post-convrctron proceedtng have vtolated Plarntrff s nght to due

             process The "demal or senous obstructron" ofthat nght ls "as much a fatlwe of due process as

             would the denal of the nght to a tnal rtself " People v Rrvera, 39 N Y 2d 519,522 (L976)

        69   PlarntrffJosE RODRIGVEZwas demed of hrs due process nght to counsel on appeal
        70   Plarntrff s nghts under the 6e Amendment to the Constttutron were vtolated rn thls case

        7I   Defendants TIIE CITY OF NEW YORK, ADMII\-ISTRATORS OF THE 18-B PANEL

             FOR THE CrTy OF NEW YORI( (frEW YORK COIINTY) JOIIN/JANE DOE #1-5,

             I\"EW YORK COI]NTY DISTRICT ATTORNEY'S OFFICE, ADA JOHN/JANE DOES

             #6-11, NEW yORK CITY OFFICERS, AGENTS, SERVANTS and/or EMPLOYEES

             JOHN/JANE DOES #12-lS exhrbrted substantral preludtce to Plarntrff s nght to an appellate
             process

        72   Plarntrff JOSE RODRIGUEZwas depnved of hrs nght for effectrve asststance of counsel

        73   Though the length of hme rn Mr Rodnguez's delay rs shockmg, thrs depnvatron of a nght to a

             speedy appeal rs all too familrar In New York's Fnst and Second Deparbnents, delays are

             commonly so senous that prrsoners frequent$ serve ther sentences before thet appeals are even

             heard The Commrttee on CnmrnalAdvocacyoftheBarofthe CrtyofNewYorkfoundthatthe
             pattem of delay rs even more appalhng when there rs a hrgh percentage of defendants convtcted

             at tr:ral who have erther garned a reversal or other sentence modtficatton on appeal (For

             example, rn 1984, 23Yo of.the defendants convrcted had a reveral or sentence modtficahon on

             appeal)


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       74      At all relevant trmes herernn all Defendants, estabhshed and/or followed pohcres, procedures,

               customs, and or practrces, and those poltctes wer€ the cause,pursuant to 42 U S C $ 1983' as

               well as the case of Monell v New York Crty Dep't of Socral Servrces ,436U S 658 (1978),

               of the vrolahon of Plarntrff s crvrl nghts granted under the Frst, Fourth, Frfth, Srxth and

               Fourteenth Amendments to the Umted States Conshfuhon All of the aforementtoned acts of

               the Defendants, ther agents, seryants and employees, wefe camed out under the color of

               state law

        75     Addrtronally, Defendants estabhshed and followed a custom and pohcy of concealmg tts

               failures and due process requfes the drsclosure of these fatlures outhned above, whtch were

               m Defendants' control

        76     Defendants' custom and pohcy of concealmg rs rn vrolatron ofNew York State law and vrolated

               PlarntrfPs due process nght under the Due Process Clause of the Fourteenth Amendment to the

               U S Constrtutron
        7',|   As a result of the foregorng, Plarntrff was depnved of hrs hberty, suffered spectfic physrcal,
               psychologtcal and emotronal ruunes and emotlonal dtstress, great humrhafion, costs and

               expenses, and was otherwme damaged and rnlured

                                   AS AI\D FOR A SECOND CAUSE OF ACTION

                  UNTTED STATES CONSTITUTION ACTIONABLE UNDER 42 U S C S 1983

        78     Plarntrffrepeats and rerterates the allegatrons set forth m the foregorng paragraphs wrth the same

               force and effect as though fully stated herem

        79     By theg conduct and actrons rn farhng to protect Plarntrff from the unlustrfied and
               unconstrtutronal treatment he recerved at the hands ofDefendants actrng wrth aflmlls, and under

               color of law and wrthout lawful1ustrficafion, rntentronally, mahcrously, and wtth dehberate

               mdfference to and/or a reckless drsregard for the nahrral and probable consequences of ther

               acts, caused mJury and damage rn vrolatron of Plarntrff s hber(y and constttutronal rrghts as

               guaranteed un der 42U S C $ 1983 and the Umted States Constrtuhon, mcludmg rts Fourth and



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             Fourteenth Amendments

        80   Defendants TIIE CITY OF NEW YORK, ADMINISTRATORS OF THE 18-B PAI\ilEL

             FOR TrrE CrTy OF NEW YORK (NEW YORK COIINTD JOIIN/JANE DOE #1-5,

             NEW YORK COI]NTY DISTRICT ATTORNEY'S OFFICE, ADA JOHNiJANE DOES

             #6-tl, NEW YORK CITY OFF"ICERS, AGENTS, SERVANTS and/or EMPLOYEES
             JOHN/JANE DOES #12-15 depnvedPlarntrff JOSE RODRIGUE'Z of hrs ltberly

        81   The Notrce of Appeal was fimely filed but, lt was not unfil November 9,2021where lt was

             determrned as a matter of law that Mr Rodnguez was "depnved of hrs nght to a 'mearungful

             appeal' rn hght of the undrsputedly extraordmary delay of nearly 40 years n perfecfing hts

             appeal " Eeeple-y-Bgduglgz, 199 AD3d 469

        82   Dururg thrs trme, Mr Rodnguez was sublected to multrple acts of vrolence by mmates, as well

             as sublected to exteme psychologcal and physrcal abuse by agents, employees, representatles

             and/or servants of Defendants

        83   Moreover, even after the convrctron was overhrmed, Mr Rodnguez confinued to be mcarcerated

             for more than ten ( 1 0) months, due to retahatory tnfractrons and punlshments mcurred whrle rn

             pnson whrch caused hrm to have to contrnue to fight for hrs hberly even after hm convrctron was

             overtumed

        84   Defendants sub.lected Plarntrffto rnternal charges on the basts of false evrdence Plaurhffwas

             rmproperly charged and hetd and contrnued detenhon past the date he should have been

             otherwtse released

        85   Defendants rndrvrdually and collectrvely are hable for abuses agamst Plarntrffthat shock the

             consclence rn vtolatron of Artrcle 1, $ 5 of the New York State Constrtufion

        86   As a drect and proxrmate result of defendants' depnvahons of Plarnttff s nghts, pnvtleges, and

             rmmumtres guaranteed by the New York State Constrtutton, Plarntrff suffered physrcai,

             economlc and emottonal rnlunes, as well as a depnvatron of hberty

        87   As aresult ofthe above torfious conduct, Plarntrffwas caused to sufferphysrcal, economtc, and


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              emotlonal rqlunes, as well as a depnvatlon of hberty

        88    As a result of the above unconstrtutronal conduct, the Crty of New York rs hable, under the

              doctnne of respondeat supenor, for the conduct ofthe Indrvrdual Defendants, and for any

              damages the Indrvrdual Defendants caused by and through therr conduct

        89    Defendants' aforesad conduct breached the protecfions guaranteed to plarntrffby the New York

              State Constrtufion, mcludrng but not ltmtted to, Arhcle 1, $$ 1, 5, 6, 8, 9, 11, and 12, and

              mcludrng the followrng nghts

                       r     freedom from false rmprrsonment, that berng wrongfully detarned wrthout good
                            farth, reasonable srisprcton, or legai lustrficatron, and of whrch wrongful
                            detentton plarntrff wai aware and drd not consent, and
                       11 freedom fro-m depnvatron of hberly wrthout due process of law
        90    Defendants' customs, pohcy, and procedures sub.lected Plarntrff to vtolaflons of hrs nghts to be

              free from depnvafion of hberly wtthout due process of law

        91    As a result of the foregomg, Plarntrff was depnved of hrs hberly, suffered specrfic physrcal,

              psychologrcal and emofional rnJunes and emottonal drskess, great humthatlon, costs and

              expenses, and was otherwse damaged and rnlured

                                AS ANp FoR A THrRD CAUSE OF=4'ggqIL
                       DERELMITATE                                       INDIFFERENCE
             ANd FAILTIRE TO INTERVENE BY DEII:EI\DANTS THE CITY OF NEW YORK
           ADMINISTRATORS OF TI{E', 18.8 PANEL FOR THE CITY OF NEW YORK (NEW
             YORK COIINTY) JOHN/JANE DOE #1-5, NEW YORI( COUNTY DISTRICT
         ATTORIIEY'S oFFlcitn.lDL JOHN/JAI\E DoES #6-ll,NEW YORK CITY OF'F'ICERS,
               AGENTS, SERVANTS and/or EMPLOYEES JOIIN/JANE DOES #12-ts


        92    Plarntrffs repeats and rerterates the allegatrons set forth m the foregorng paragraphs wrth the

              same force and effect as though fully stated herem

        93    Defendants TIIE CITY OF NEW YORI! ADMIMSTRATORS OF THE 18-B PAI\EL

              FOR THE CrTy OF NEW YORK (NEW YORr( COUNTY) JOHN/JA.IYE DOE #1-5,

              NEW YORK COUNTY DISTRICT ATTORNEY'S OFFICE, ADA JOHN/JAI\E DOES

              #6-11, IYEW YORK CITY OFFICERS, AGENTS, SERVANTS andlor EMPLOYEES




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             JOIIN/JANE DOES #12-15 were under a duty of safeguardmg the pubhc and ensunng the
             appropnate executton of Defendant's role

       94    Plarntrff duly rehed on Defendants' fulfillment of ther dufies

       95    Defendants had an affirmatrve duty to mtercede when Plarntrff s constrtufional nghts were beurg

             vrolated rn Defendants' presence Plamtrffduly rehed on Defendants' fulfillment oftheff dutres

        96   At vanous pomts rn trme outhned above, Defendants were observrng and aware of the wrongfirl

             acts agamst Plarntrff and had an affirmattve duty to mtervene when Plarntrff s constrtutronal

             nghts were bemg vlolated m ther presence

        97   At vanous pomts rn trme outhned above, Defendants neglected or otherwse farled to rntervene

             on Plarntrff s behalf m derehctron of ther duty to Plarntrff and rrr depraved and dehberate

             rndrfference to Plarnhff s well-berng and rn furthervrolatlon of Plarnhff s consfituhonal nghts

        98   Defendants had an affirmafive duty to mtervene when PlarnhfPs constttuhonal nghts were beng

             vrolated rn Defendants' presence by knowurgly falsrfyrng evtdence, observmg others lte rn

             sworn afFrmatlons, observmg others ma}rng matenal mtsstatements of facts and/or omtttmg

             necessaryfacts, preventrngrmportant mformatton from motron pracfice, brrefing andthe parole

             board heanngs, contmumg to fight agamst the release of Plarntrff or the PlarntrfPs nght to

             appeal desprte leammg that he had a rrght to appeal and/or release, farhng to prevent Plarnfiff

             from berng assaulted, battered, beaten and otherwtse attacked, permtttmg retakatory rnfrachons

             and otherwrse vrolatmg Plamtrff s conshfutronal ngbts m Defendants' presence

        gg   Those defendants that were present but drd not actrvely parhctpate m the aforemenhoned

             unlawful conduct, observed such conduct, had an opporhiluty to prevent such conduct, had a

             duty to mtervene and prevent such conduct and farled to rntervene

        100 Atthetrme oftherncrdents,DefendantsTHE CITYOF hIEWYORK,ADMIMSTRATORS
             oF TIIE 18-B PAIYEL FOR THE CITY OF NEW YORK (NEW YORK COUNTY)
             JOrrN/JANE DOE #1-5, NEW YORK COUNTY DISTRICT ATTORNEY'S OFFICE,

             ADA JOHN/JANE DOES #6-11., NEW YORK CITY OFFICERS, AGENTS, SERVANTS


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                an d/or EMPLOYEES JOHN/JANE             DOES #1 2'15 were observrng and aware of the wrongfu I

                acts agatnst Plarntrff

        1   01 At the trme of the mcrdent, Defendants TIIE CITY OF NEW YORK, ADMINISTRATORS
                oF THE 18-B PANEL FOR TIm CITY OF',NEW YORI( (NEW YORK COUNTY)
                JOIIN/JANE DOE #1-5, NEW YORK COUNTY DISTRICT ATTORNEY',S OFFICE,
                ADA JOIIN/JA}IE DOES #6.11,IYEW YORK CITY OFFICERS, AGENTS, SERVAIITS

                 and/or EMPLOYEES JOHN/JAI\E DOES #12-lS neglected to mtervene on PlarntrfPs behalf

                 m derehchon of ther duty to Plarntrff and rn dehberate mdtfference to PlarntrfPs well-berng

        102 Defendants THE CmY OF NEW YORK, ADMIMSTRATORS OF THE 18-B PANEL
                 FOR THE CrTy OF r\"EW YORK (NEW YORK COUNTY) JOIIN/JANE DOE #1-s,

                NEW yORr( COUNTY DISTRTCT ATTORNEY'S OFFICE, AI)A JOHN/JANE DOES

                #6-tl,NEW YORK CITY OFFICERS, AGENTS, SERVANTS and/or EMPLOYEES
                JorrN/JAI\E DoEs #t2-15 vrolated Plarntrff s constrtutronal rrghts when they farled to
                 mtercede and prevent the vrolatron or furttrer vrolahon of PlarntrfPs constttufional nghts and the

                 rnJunes or firrther nJunes caused as a result of sald farlure

        103 Defendants THE CITY OF I\EW YORIG ADMINISTRATORS OF THE 18-B PAIIEL
                 F',OR THE CrTy OF NEW yORr( (NEW YORK COUNT9 JOHN/JANE DOE #1-s,

                 NEW YORK COUNTYDISTRICT ATTORNEY'S OFFICE, ADA JOHN/JANE DOES

                 #6-tt, NEW YORK CITY OF"FICERS, AGENTS, SERVANTS andior EMPLOYEES
                 JOHN/JANE DOES #12-l5had an affirmatrve dutyto mtercede when Plarntrff s conshtuttonal

                 nghts were berng vrolated rn Defendants' presence by assault, abuse and puntshments

        104 As a result of the foregomg, Plarntrff was depnved of hts hberty, suffered a loss of qualtty
                 and/or enloyment of lfe, economlc mJury, psychologrcal rnlury and emohonal drctress, great

                 humrhatrono costs and expenses, and was otherwtse damaged and urlured

                                  AS ANp FOR A FOURTH CAUSE OF ACTIpI\{
                                 INTENTIONAL INT'LICTION OF EMOTIONAL
                                          HARM AND/OR DISTRESS


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        I   05 Plarntrffrepeats and rerterates the allegatrons set forth rn the foregorng paragraphs wrth the same
                  force and effect as though fully stated herem

        106 Courts have held that contrnuous and coerclve harassment can establsh an ffiD cause of
                  actron Alexander v Umficatron Church of Amenca. 634 F 2d 673,678-679 (2d Cr 1980)

                  (fifung of harassrng lawsurts, constant surverllance, patrolhng of plarntrffs' homes),Green v

                  Frschbeur Ohvren Rozenholc & Badrllo. 119 AD2d 345,507 NY S 2d 148 (lst Dep't

                  1986)(baseless evtctton proceedrngs agamst plamtff-tenant by landlord, drcruptlon m servlces,

                  detenoratron of hvmg condrtrons, mterference wrth mails, verbal abuse of plarntrff and hts

                  guests) But see,Gay    v Carlson,60 F3d 83, 89 (2d, Cr 1995)(furdrng plamtrff had not
                  establshed an IIED clarm where "[a]11 that plarntrff alleges that any ofthe defendants has done

                  rs lodge officral complarnts about plarntrffs conduct or drscuss the basrs of those complarnts

                  wrth others')

        107 A trmelyNotrce of Clarm was filedwrth the Crty ofNew York
        108 Because many of these "last acfionable acts" occurred wrthrn the statute of ltmrtattons penod,
                  theactronrsnottrme-barred Cf Leonhardv UmtedStates, 633F2dat613 (holdrngthatunder

                  general pnncrples of New York law, the stafute of ltmrtahons " 'runs from the commrssron of

                  the last wrongful act ' ")(crtatrons omrtted)

        109 The emotronal harm and/or drstress contrnue to present day Hon Dense L Cote reached a
                  srmrl4lconclusrononthsrssue Bonnerv Guccrone. 94Cw 7735,shp op at7-I5,1996WL

                   22355 (SDNY January 17, 1996xholdrng where last act of an unmtemrpted course of

                  acflonable conduct falls wrthm statute of hmrtatrons, plamttffpermrttedto assertffiD clarm for

                  entre course of conduct, even those acts beyond the statute of hmrtatrons) cf                  v

                  Umted States. 633 F 2d at 613 (holdrng that under New York law where
                  certaur contrnuous wrongs are alleged, the last wrongfirl act tnggers the statute of hmrtatrons)

        110       Under the color of state law, Defendants TIIE CITY OF NEW YORK, ADMINISTRATORS

                  oF TIIE 18-B PANEL FOR TIIE CITY OF NEW YORK (NEW YORK COUNTY)

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              JOHN/JANE DOE #1-5, NEW YORK COUNTY DISTRICT ATTORNEY'S OFFICE'

              ADA JOHN/JANE DOES #6-11, i\-EWYORK CITY OFT'ICERS'AGENTS, SERVANTS

              and/or EMPLOYEES JOIINIJANE DOES #12-15 urtentronally caused contrnuous emotronal

              drstress and damage to Plarntrff The acts and conduct of Defendants were ttre dtect and

              proxlmate cause of contmuous emotronal drstress emotronal rn1ury to Plarntrff and vtolated hrs

              statutory and common law nghts as guaranteed by the laws and Consfitutron ofthe State ofNew

              York

        111   Upon mformatron and behef, Defendants commttted multrple acts agatnst Plarntrff, whrch

              mvaded h13 mterests and rnflrcted ilUunes upon hrc throughout all stages of rnvestrgahon, the

              contmuous detenfion and the heanngs, and tnals, whrch cumulatrvely amounted to urtenfional

              rnflrctron of emohonal harm and/or dshess

        r12   Defendants used excessrve force agarnst Plarnflff and fiuther compounded therwrongdorngs by

              brutalurng hrm, falsely arrestrng hrm, contmurng the depnvahon of hberty and fighttng to

              prevent htm from hrs nght to appeal

        113   As a result of the multrple acts, rncludrng but not hmrted to the acts bnefly outlmed, Plarntrff

              has suffered tremendously, expenenced anxtety attacks, requred regular therapy and has been

              emotronally drstressed up to the present day

        tt4   Sard pohce retalmtron and false clarms as outlmed rn the facts and below causes of acfion

              compnsmg thrs complarnt has further contributed to Plarntrffs emohonal hann and dtstress

        115   The conduct transcended the bounds of human decency The conduct amounted to more than

              the emofional harm that ts encompassed wrthrn the other clatms

        116   THn g1'1'y OF NEW YORI( rc responsrble based on the theory of respondeat supenor
        tt7   As a result of the foregorng, Plamtrff was depnved of hrs hberty, suffered spectfic physrcal

              mJury psychologrcal rrgury and emohonal drstress, great humrltafionn costs and expenses, and

              was otherwrse damaged and rnlured


                                 AS AND FOR A FIFTII CAUSE OF ACTION

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                                                 NEGLIGENCE

        118   Plarntrff repeats and rerterates the allegatrons set forth rn the foregomg paragraphs wrth the

              same force and effect as though fully stated herem

        119   Upon mformahon and behef, aNo6ce of Clarm was tunely filed agamst the Ctty

        r20   THE CITY OF NEW YORK rs responsrble based on the theory of respondeat supenor
        t2t   Defendants THE CITY OF i\EW YORIE ADMINISTRATORS OF THE 18-B PANEL

              FOR THE CITY OF NEW YORI( (NEW YORK COUNTI) JOIIN/JAI\E DOE #1-s,

              NEW YORK COIINTY DISTRICT ATTORNEY',S OFFICE, ADA JOHN/JANE DOES

              #6-ll, NEW YORI( CITY OFFICERS, AGENTS, SERVANTS and/or EMPLOYEES
              JOIIN/JAI\E DOES #L2-15 neghgentlycaused mlurres and otherwtse damaged Plarntrff The
              acts and conduct of Defendant were the duect and proxrmate cause of mjury to Pialrtrff and

              vrolated ther statutory and common law nghts as guaranteed by the laws and Constltuhon ofthe

              State ofNewYork

        t22   As a result of the foregorng, Plamflffwas depnved ofhrs hberly, suffered specrfic psychologcal

              and emofional rgunes and emofional dshess, great humrhatlon, costs and expenses' and was

              otherwrse damaged and m;ured




                                        SUPERVISION and TRAINING

        123 Plarnhffs repeats and rerterates the allegatrons set forth m the foregorng paragraphs wrth the
               same force and effect as though fully stated herem

        124 DefendantTHE CITY OFNEWYORKneghgentlyhned, screened, retarned, supervmedand
               trarned Defendants TIIE CITY OF NEW YORK, ADMINISTRATORS OF THE 18-B
               pAr{EL FOR THE CrTy OF NEW YORI( (NEW YORK COIINT9 JOHN/JAI\E DOE

               #1-5, NEW YORK COttNTy DISTRTCT ATTORNEY'S OFFTCE, ADA JOHN/JANE

               DOES #6-ll, NEW YORK CITY OFF',ICERS, AGENTS, SERVAI\TS and/or
               EMPLOYEES JOHN/JANE DOES #12'15 and rts employees

                                                        22




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       ,125    A trmely Notrce of Clarm was filed by Plarnhff

        t26    The murucrpahty's farlure to properly tram, hre, retam and/or supervme tts poltce officers,

               correctron officers, AsSrstant Drstrtct Attorneys and employed agents, servants and

               anployees, whrch "evldences a dehberate mdfference to the nghts of rts rnhabrtants "

                       Henry-L€ev CrtvofNewYork. 746 F Supp 2d 5 46,566 (SDt\rY20 1 0)
               ^!ee,

        127    As a result ofthe foregorng, Plamtrffwas depnved ofhrs hberty, suffered specrfic psychologrcal

               and emofional mlunes and emofional drstress, greathumrhafion, costs and expenses, andwas

               otherwrse damaged and rnlured




        128 Plarntrffrepeats and rerterates the allegatrons set forth rn the foregotng paragraphs wrth the same
               force and effect as though fulty stated herem

        l2g Defendants THE CITY OF I\EW YORK' ADMINISTRATORS OF THE 18-B PAI\EL
               FOR TIIE CITY OF NEW YORK (NEW YORK COUNTD JOHN/JANE DOE #1-5,

               NEW yORr( COTINTY DTSTRTCT ATTORNEY'S OFF.ICE, ADA JOHN/JAIYE DOES

               #6-11, I\EW YORK CITY OFFICERS, AGENTS, SERVANTS and/or EMPLOYEES

               JOHN/JAI\E DOES #I}-LS neghgently caused ernotronal dmtress and damage to Plarlrtrff
               The acts and conduct of Defendants were the drect and proxrmate cause of emottonal rr4ury to

               Plarntrffs and vrolated hrs statutory and common law nghts as guaranteed by the laws and

               Constrtufion of the State ofNew York

        130 Defendants neghgently caused emofional dtstress and damage to Plarntrff The acts and conduct
               of Defendants were the drrect and proxrmate cause of emofional rnlury to Plarntrff and vrolated

               hrs statutory and common law nghts as guaranteedby the laws rn the US Constttutton and the

               State of New York




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        131    As a result of the foregorng, Plarntrffwas deprled ofher hberly, suffered specrfic psychologrcal

               and emofional tryunes and emotronal drstress, great humrlntlon, costs and expenses, and was

               otherwrse damaged and rnlwed


                                                                OF'

        132 Plarntrffrepeats and rerterates the allegatrons set forth rn the foregorng paragraphs wrth the same
               force and effect as though fully stated hererr

        133 The defendants rssued cnmmal legal process agarnst Plarntrffbased on an lmproper or maltcrous
               motwe

        134 The defendants acted wrth rmproper purpose m anestmg and contmumg to prosecute Mr
               Rodrrguez m orderto conceal ther ownmsconduct, and m connectlon wrth hrs false arrest and

               mahcrous prosecutlon, rn order to escape drscrphnary charges andpotenfial loss ofemployment

                Courts have found that a desre to protect one 's employn'rent can constrtute a collateral purpose

               See, eg, Ho]'os. 999   F Supp 2d at39I, Douslas, 595 F Supp 2d at 344 (S D N Y 2009)
               ("Fabncatrng assault charges to save one's 1ob could be abuse of process, however, because

               'safeguardrng one's own employment hes outsrde the legttrmate goal of crrmrnal process "')

               (quotmg Hemandezv Wells,No 01 Cw 4376,2003WL22771982,at*9(SDNY Nov 24,

               2003)
        135 The Defendants rssued legal process rn ordEr to obtarn collateral oblectrves outslde the
               legrtrmate end of legal process, to wrt, to cover up fher above-menttoned failures

        136 The Defendants made false clatms
        137 The Defendants falsely clarmed that Plarntrff had already perfected lus appeal and that hrs
               convrcfion was affirmed

        138 The Defendants rntentronally omrtted that Burke was a drsgraced dehnquent attorney who had
               smce been pulted off the panel, suspended from practrce and ultrmately drsbarred

        139 The Defendants mtenfionatly omrtted that the Plarntrffs "Frle Card" hsted mformatton
               pertarmng to the wrong 'oJose Rodngtez" yet mststed to crte to tt, rely on rt and use lts

                                                          24




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               mformafion to argue agarnst Plarntrff s nght to an appeal desprte bemg exphcrtly rnforrred that

               rt was the wrong mformafion

       140 The Defendants mtenfionally omrtted cructal procedural and substantle lustory from the parole
               board filmgs

        l4l    Defendants provrded false urformatron after the fact m order to legrttmze the masstve mtstakes

               they made m the course of thrs case tn order to prevent Plarntrff from pwsulng iegal actron

               agamst the defendants for therr rnvolvement

        I42 As a drect and proxrmate result of thrs unlawful conduct, Plarnhffsustarned emottonal and
               psychologrcal damages, stress, anxrety, court costs, legal fees, humtlntton and embarrassment

               and other damages alleged herem


                                AS AI\p FOR A NNTrr CAUSE OF ACTr_qA
                                 DEPRTVATION OF RIGHTS IJDIDER THE
                          IINITED STATES CONSTITUTION AND 42 U.S.C. $ 1983
                                        BY THE CITY OF NEW VORK
                                       CLAIM F OR M ONE L L LIABILITY
        143 Plarntrff repeats and rerterates the allegatrons set forth ur the foregomg paragraphs wtth the same
               force and effect as though fully stated herem

        144 Atall trmes matenal to thrs complarnt, Defendant TIIE CITY OFNEWYORKacturgthrough
               rts departrnents and through Defendants ADMINISTRATORS OF THE 18-B PAIIEL FOR

               TIIE CITY OF I\EW YORK (NEW YORK COIINT9 JOHN/JAI\E DOE #1-5, NEW
               YORI( COUNTYDISTRICT ATTORNEY'S OFFICE (rncludrng rts Appeals Bureau),
               ADA JOHN/JAIYE DOES #6-11, NEW YORK CrTV OFT'ICERS, AGENTS, SERVATITS
               and/or EMPLOYEES JOHN/JANE DOES #12-15 had rn effect actual and/or de.facto
               pohcres, practrces, customs and usages whrch were a drect and proxtmate cause of the

               unconstrtutronal conduct alleged herem

        145 At all trmes matenal to ther complamt, Defendant THE CITY OF NEW YORK actmg
               through rts pohce department and through Defendants ADMINISTRATORS OF THE 18-B

               PANEL FOR TIrE CrTy OF NEW YORK (NEW YORK CO[]NTY) JOHN/JANE DOE

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              #1-5, NEW YORK COUNTY DISTRICT ATTORIIEY'S OFFICE (rncludrng rts Appeals

              Bureau), ADA JOHN/JANE DOES #6-11, NEW YORI( CITY OFFICERS, AGENTS'

              SERVANTS and/or EMPLOYEES JOIIN/JANE DOES #12-15 had rn effect and/or de-facto

              pohcres, prachces, customs and usages of farhng to properly tratn, screen, supelrse and

              drscrphne employees and agents, and of farhngto rnformthe mdryrdualDefendants' supervrsoni

               of the need to trarn, screen, supervtse and drsctphne satd Defendants The poltctes, practtces,

               customs, and usages werg a drect and proxtmate cause of the unconstttuhonal conduct alleged

              herem

        146 Defendants, berng aware that such lack of tratnmg, screenlng, supervmlon, and drscrphne leads
              to rmproper conduct, acted wrth dehberate mdrfference rn fadmg to estabksh a program of

               effectrve tramrng, screerung, supervrsron and drscrphne Defendant TIIE CITY OF NEW

              YORK berng aware that the persrstent and substantral nsk of tmproper detenfion of persons
              based upon msufficrent or mcorrect mformatron, and effechve trarmng, screenlng, supervtslon

               and drscrplme would lessen the hkehhood of such occurrences These are recurrent
               crrcumstances whrch mvolve such potenfial danger to the consfihrtronal nghts of crhzens, more

               specrfically Plarntrff and whrch are offictally tolerated by Defendant THE CITY OF NEW

              YORK Such pohcres, practlces, customs or usages were a duect and proxtmate cause of the
               conduct allegedherern and otherwrse a drect andproxrmate cause oftheharm/damages alleged

               herern, rn vrolahon of Plarntrffls conshtufional nghts as guaranteed under 42 U S C $ 1983 and

               the Umted States Constrtufion, mcludmg rts Fourth and Fourteenth Amendments

        1,47 The exrstence of the above-descnbed de facto unlawful poltctes and/or well-settled and
               wrdespread customs andpracflces rs knownto, encouraged and,/orcondonedbysupervtsoryand

               pokcy-makrng officers and defendant THE CITY OF NEW YORK, rncludrng but not lunrted

               to the Drstnct Attorney's Office, 18-b Panel and other employees, agents or representahves

        148 At the trme of the aforementroned constrtuttonal vtolaflons, THE CITY OF'NEW YORI(were
               and had been on notrce of such unconstrtutronal conduct, customs, and de facto poltctes, such


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              that the farlure of TIIE CITY OF NEW YORK to take appropnate remedral achon amounted

              to dehberate rndrfference to the constrtufional nghts of persons wrth whom they come m
              contact In hgbt of the extensrve pattern ofwell-settled, pervaslve customs and pohoes causmg

              consfituhonal vrolatrons, documented rn part rnfra, the need for more efflechve supervtsron and

              other remedral measurEs was patently obvtous, but THE CITY OF I\EW YORK made no

              meanrngful attempt to prevent future constttuhonal vtolafions

        l4g Defendant THE CITY OF FIEW YORK knew or should have lcrown that the acts alleged
              herern would depnve Plarntrff of hrs nghts under the Fourth, Frfth, Srxth and Fourteenth

              Amendments to the Umted States Constttutron

        150 Defendant TIIE CITY OF NEW YORK rs drrectly hable and responstble for the acts of
              Defendants, as tt repeatedly and knowrngly farled to properly supervrce, trarn, mstruct, and

              drscrplme them and because rt repeatedly and knowtngly farled to enforce the rules and

              regulafions of the Crty, and to requre comphance wrth the Conshtutron and laws of the Umted

              States

        151 Desprte knowledge of such unlawful de facto pokcres, practrces, and/or customs, these
              supervrsory and pohcy-makrng officers and offtcpls and THE CITY OI'NEW YORK, have

              not taken steps to termmate these poltctes, prachces and/or customs, do not drscrphne
              mdrvrduals who engage m such pohces, pracflces and/or customs, or otherwtse properly tram

              pohce officers wrth regard to the consfifutronal and statutory ltmrts on the exercrse of therr

              authonty, and mstead approve and ratrfy these pohctes, pracflces and/or customs through ther

              actrve encouragement of, dehberate mdrfference to and/or reckless drsregard of the effects of

              sard pohcres, prachces and/or customs or the constttutronal nghts ofpersons rn the Crty ofNew

              York
        1,52 The aforemenfioned Defendant's THE CITY OF NEW YORK pohcres, practrces mdJot
              customs of farhng to supervrse,tratn, mstruct and fuscrphne pohce officers and encouragrng

              ther mrsconduct are evrdenced by the poltce mrsconduct detarled herern Specrfically, pursuant


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              to the aforementroned Crty pohcres, practrces and/or customs, Defendants felt empowered to

              arrest Plamilff wrthout probable cause and then kept hrm rn unsanttary and lnhuman condtilons

        153 Pursuant to the aforementroned THE CITY OF NEW YORK pohcres, practtces and./or
              customs, the employees, representatrves and/or agents farled to rntervene m or report

              Defendants' vtolatrons of Plarntrff s nghts

        I54 Plarntrff s rnJunes were a drect and proxtmate result of the defendant THE CITY OF NEW
              YORK's wrongful de facto pohcres and/or well-settled and wdespread customs and practtces

               and of the knowmg and repeated farlure of the defendant THE CITY OF NEW YORK to

              properly supervlse, ffarn and drscrplme ther employees, agents and representatrves

        155 As a result of the foregomg, Plarntrff was depnved of hrs hberty, zuffered spectfic phystcal,
               psychologrcal and emotronal mJtules and emofional drstress, gteat humrltafion, costs and

               expenses, and was otherwtse damaged and tnlured

        156 In thrs case, there was employees wthholdrng evrdence and/or mrsrepresentrng or falsrfi6ng
               evrdence, overall madequate appellate and advocacywork and rnadequatepost-detentton work-

               up of the case, and permrthng and/or enforcmg contmued detentron, oblectron to appellate
               process and placmg Plarntrff rn unsafe and unconsttfuhonal condrtrons of confinement

        157 The acts complarnedofwere camed outbythe aforementloneddefendants mthetcapacrtres as
               officers pursuant to customs, pohcres, usages, pracfices, procedwes and rules of the Crty, all

               under the supewrsron of hrgher-rankrng representatrves, employees and/or agents of the Ctty

        158 Atthe trme ofthe aforemenfionedconstttutronalvtolahons, THT'. CITY OFFIEWYORKweTe
               and had been on nohce of such unconstrtutronal conduct, customs, and de facto pohcreso such

               that the farlure of Crty to take appropnate rernedral actron amounted to dehberate rndrfference to

               the constrtutronal nghts of persons wrth whom the pohce come rn contact In hght of the

               extensrve pattern of well-settled, pervasrve customs and pohcres causmg constrtutronal

               vrolatrons, documented rn part urfra, the need for more effectrve supervtsron and other remedtal

               measures was patently obvrous, but   TIfi CITY OF NEW YORK made no meamngful attempt

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              to prevent future conshtutronal vrolatrons

        159 Pursuant to the aforemenfioned THE CITY OF NEW YORK poltcres, pracfices and/or
              customs, the employees, representatrves and/or agents farled to mtervene m or report

              Defendants' vtolafi ons of Plarntrff s nghts

        160 Plarntrff s rnJunes were a drect andproxrmate result of the defendant TIIE CITY OF NEW
              YORK's wrongful de facto pohcres and/or well-settled and wrdespread customs and practtces
              and of the knowulg and repeated farlure of the defendant TIIE CITY OF NEW YORK to

              properly supervlse, tram and drscrphne ther agents, employees, or representatles

        161 These rs aclearcausal connectronbetweenthe acttons ofTHE CITY OFNEWYORKandthe
              constrtutronal vrolafions m thrs case Here, TIIE CITY OF NEW YORI( caused and rs

              rmpfucated rn the constrtutronal vrolaflons and thus, should be held hable for the unconsfftutronal

               actrons taken by the pohce officers

        162 Here, rt rs clear that THE CITY OF NEW YORK took acfion by ther hrnng and retentron,
               wluch rs sufficrent to expose them to habrlrty Amnestv Amenca v Town of West Harford.

               361 F3d 113,725 (2dCr 2004)

        163 As a result of the foregomg, Plamtff was deprrved of hrs hberly, suffered speclfic physrcal
               l4Jury, psychologrcal rn1ury and emotronal dtstress, great humrltatlon, costs and sxpenses,

               and was otherwse damaged and rnlured

                                                      JURYDEMAND

        164 Plarntrlf hereby demands the convemng and empanehng of a 1ury to constder the ments and
               evaluate all of the Nsues properly tnable thereby

               WHEREFORE, PlarntrffJosERODRlGtlEZdemandsludgmentagamstDefendantsherem,
               tn a sum exceedrng the lunsdrctronal hmrts of all lower courts whrch would otherwtse have

               3unsdrctron, together wlth the costs and drsbursements of thrs actton

               WHEREFORE, plaurtrffdemands alurytnal and the followurg reheflorntly and severally
               agamst the defendants


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                  a      Compensatory damages rn an amourt to be determrned by aJury,
                  b      Pumtrve damages rn an a:nount to be determmed by apry
                  c      Costs, tnterest and attorney's fees, and sancfions
                  d      such other and further rehef as thrs court may deem lust and proper,
                  rncludrng mlunctrve and declaratory rehef



       Dated      New Y ork, New York
                  May 2, 2023
                                                                Yours, etc




                                                                Elhe A Stlverman, Esq
                                                                Speaal Coansel to.
                                                                suul,ulN & HrLL, PLLC.
                                                                Att o rn ey s fo r P I arnttff
                                                                JOSE RODRIGUEZ
                                                                b"* st.i" Stt*t Plaza,156 Floor
                                                                New York, New York 10004
                                                                2t2-221-1000




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                                       ATTORNEY'S VERIFICATION


                ELLIE A. SILVERMAN, an attomey duly admrtted to prachce before the Courts of the State
       of New York, afftmrs the followrng to be true under the penaltres of pequry


                I am an attorney at SHIILMAN & HILL, PLLC, attorneys of record for Plarntrff JOSE
       RODRIGUEZ lhaveread the annexed SUMMONS AND COMPLAINT and know the contents
        thereof, and the same are true to my knowledge, except those matters therem whrch are stated to be

        alleged upon mformatron and behef, and as to those matters I beheve them to be true Mybehef, as to

        those matters therem not stated upon knowledge, ts based upon facts, records, and other pertment

        mformafion contamed m my files

                Thrs venficaflon rs made by me because Plamtrff rs not presently m the county wherem I

       marntarn my offices



        Dated          New York, New York
                       May2,2023




                                                                   Elhe A Stlverrnan, Esq




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      COUNTY OF NEW YORK

      JOSE RODRIGUEZ,

                                          Plarnttff,

                            -agamst-


      THE CITY OF NEW YORK, ADMIMSTRATORS OF THE 18-B PANEL FOR THE CITY OF NEW
      YORK (NEW YORK                       JOHN/JANE DOE #1-5, NEW YORK COTINTY DISTRICT
      ATTORNEY'S OFFICE, ADA                            P, MARINELLI, ADA JOHNiJANE DOES #6-11, NEW
      YORK CITY OFFICERS, AGENTS, SERVANTS and/or EMPLOYEES JOHN/JANE DOES #12-15 (the
      names "John/Jane Doe" berng fictltrous as the true names are presently unknown), rndrvrdually and m ther
      officral capacrty as New York Crty admrnrsffators, ADAs or employees, agents or servants),


                                          Defendants


                                   STIMMONS AND VERIFIED COMPLAINT


                                              Elhe A Sdverrnan, Esq
                                                Speaal Counsel to'
                                          SHULMAN & HrLL, PLLC
                                              Attorneys for Plarntrff
                                              JOSE RODRIGUEZ
                                         One State Street Plaza,l5th Floor
                                           NewYork,NewYork 10004
                                                       21.2-22r-1000
      Pursuant to 22 NYCRR 130-I I, the                   an attorney         to pracficem the courts oJ'New York
      State, certtfies that, upon mformatton and          and reasonable rnqutry, the contenhons contamed m the
      annexed document are notfrwolous



      Dated May 2,2023
                                                          Elhe A Silverman, Esq


         TO

              I TIIE CITY OF NEW YORK, 100 Church street, New York, New York 10007,
              2 I\EW YORK COUNTY DISfRICT ATTORIIEY'S OFFICE, 1 HoganPlace,NewYork,
                NY 10013
              3 ADA CHRISTOPHERP, MARINELLI, 1 HoganPlace,NewYork,Iry 10013

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